Case 3:23-cv-00503-BJD-PDB Document 13 Filed 11/01/23 Page 1 of 6 PageID 41




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


    DANIEL W. GRABILL,

         Plaintiff,                                Case No. 3:23-cv-503-BJD-PDB

    v.
                                                   Honorable Magistrate Judge Patricia D.
    ROSENTHAL, MORGAN & THOMAS,                    Barksdale
    INC.,

         Defendant.

               MEMORANDUM IN SUPPORT OF PERSONAL JURISDICTION

           NOW COMES DANIEL W. GRABILL (“Plaintiff”), by and through her

undersigned attorney, hereby addressing this Honorable Court’s October 17, 2023 [Doc.

12] order to provide a legal memorandum addressing whether this Court has personal

jurisdiction over Defendant as follows:

                                       BACKGROUND

           On April 28, 2023, Plaintiff filed his complaint against Rosenthal, Morgan &

Thomas, Inc., (“Defendant”) for violations of the Fair Debt Collection Practices Act

(“FDCPA”) pursuant to 15 U.S.C. §1692 et seq., and the Florida Consumer Collection

Practices Act (“FCCPA”) pursuant to Fla. Stat. § 559.55 et seq. In Plaintiff’s complaint and

pursuant to Defendant’s website, Plaintiff alleges the Defendant’s principal place of

business is in St. Louis, Missouri.1 Plaintiff is a resident of Jacksonville, Florida. Plaintiff




1
    https://rmtcollects.com/

                                               1
Case 3:23-cv-00503-BJD-PDB Document 13 Filed 11/01/23 Page 2 of 6 PageID 42




further alleges that subject matter jurisdiction is conferred on this court by the FDCPA,

as the action arises under the laws of the United States and supplemental jurisdiction

exists for the state law claims. [Compl. ¶1-3]. Plaintiff is a Florida resident residing in

Jacksonville, Florida. [Id. at ¶5.] Defendant is a Missouri Company domiciled in St. Louis,

Missouri. Defendant is a full service debt recovery corporation specializing in the

collection of consumer debt throughout the United States [Id. at ¶6.]

                                     LEGAL STANDARD

       District courts in the Eleventh Circuit apply a two-prong test to determine whether

personal jurisdiction exists over a defendant. Mutual Serv. Ins. v. Frit Indus., Inc., 358 F.3d

1312, 1319 (11th Cir. 2004); Cable/Home Commc'n Corp. v. Network Prods., Inc., 902 F.2d 829,

855 (11th Cir. 1990). Ordinarily, the court must first determine whether the plaintiff has

alleged sufficient facts to subject the defendant to the forum state's long-arm statute. See

Future Tech. Today, 218 F.3d at 1249. If jurisdiction is established under the forum state's

long-arm statute, the court must then decide whether the exercise of jurisdiction

comports with the Due Process Clause of the Fourteenth Amendment to the United States

Constitution. Id.

       A plaintiff must allege in the complaint facts that establish a prima facie case for

personal jurisdiction over the defendant. Diamond Crystal Brands, Inc. v. Food Movers Int’l,

Inc., 593 F.3d 1249, 1257 (11th Cir. 2010); United Tech. Corp. v. Mazer, 556 F.3d 1260, 1274

(11th Cir. 2009). Pleading a prima facie case requires the plaintiff to allege sufficient facts

“to support a reasonable inference that the defendant can be subjected to jurisdiction

within the state.” Bracewell v. Nicholson Air Services, Inc., 680 F.2d 103, 104 (11th Cir. 1982).
                                               2
Case 3:23-cv-00503-BJD-PDB Document 13 Filed 11/01/23 Page 3 of 6 PageID 43




Where, as here, this honorable Court has ordered this memorandum and so the defendant

has submitted no affidavits or other evidence in support of personal jurisdiction, the facts

alleged in the complaint must be accepted as true and all reasonable inferences drawn in

favor of the plaintiff. Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. 2000);

Morris v. SSE, Inc., 843 F.2d 489, 492 (11th Cir. 1988).

      I.   Plaintiff Has Made a Prima Facie Case for Personal Jurisdiction

       To determine whether the Court has personal jurisdiction over a nonresident

defendant, the Court must engage in a two-part inquiry. See Sculptchair, Inc. v. Century

Arts, Ltd., 94 F.3d 623, 626 (11th Cir. 1996). First, the Court must determine under state

law whether the forum state’s long-arm statute provides a basis for personal jurisdiction.

Id. If it does, then the Court must determine whether the exercise of jurisdiction would

comport with the Due Process Clause of the Fourteenth Amendment. Id. Due process

requires that a defendant have sufficient “minimum contacts” with the forum state. Id. at

626, 631. The contacts must be related to the asserted cause of action, must involve the

defendant’s purposefully availing himself of the privilege of conducting activities in the

state, and must be such that the defendant could reasonably anticipate being haled into

court there. Id. at 631. In addition, the assertion of jurisdiction must be consistent with

“fair play and substantial justice.” Id. Accordingly, so long as Plaintiff’s complaint alleges

facts that would make out a prima facie case for jurisdiction, this Court must draw all

reasonable inferences in favor of Plaintiff.

       For the first prong, Florida’s long-arm statute provides for personal jurisdiction

over a nonresident defendant for causes of action arising from the defendant’s

                                                3
Case 3:23-cv-00503-BJD-PDB Document 13 Filed 11/01/23 Page 4 of 6 PageID 44




“[c]ommitting a tortious act within this state.” § 48.193(1)(a)(2), F.S. Numerous decisions

hold that sending communications into Florida in violation of statutes such as the FDCPA

constitutes the commission of a tortious act within the state. See, e.g., Goodwyn v. Accredited

Mgmt. Solutions, LLC, No. 8:20-cv-244-T-02TGW, 2020 WL 9454965, at *3 (M.D. Fla. Aug.

6, 2020), report and recommendation adopted, 2020 WL 9454938 (M.D. Fla. Sept. 2, 2020)

(holding that “the defendant’s alleged voicemail messages to a Florida resident in

violation of the FDCPA and FCCPA also establish the court’s personal jurisdiction over

the defendant”). See also, Koch v. Lake City Credit, LLC, 6:19-cv-667-Orl-41GJK, 2019 WL

3719457, at *2-3 (M.D. Fla. July 23, 2019), report and recommendation adopted, 2019 WL

3717898 (M.D. Fla. Aug. 7, 2019) (holding that the plaintiff sufficiently alleged the

defendant committed a tortious act in Florida by personal involvement in attempts to

collect a debt by telephone and mail).2

       Here, Plaintiff has made a prima facie case for personal jurisdiction under Florida’s

long-arm statute by alleging that Defendant (1) purposefully directed its debt collection

phone calls to Plaintiff who is a resident of Florida, (2) Plaintiff requested that those

phone calls cease in Florida, and (3) Plaintiff was harmed by Defendant’s

communications to Plaintiff in Florida. Specifically, Plaintiff, a Florida resident, alleges

that Defendant placed incessant collection calls to her cellular phone with the intent to


2
 See also, Alston v. Summit Receivables, No. 6:17-cv-1723-Orl-31DCI, 2018 WL 3448595, at *3 (M.D.
Fla. June 27, 2018), report and recommendation adopted, 2018 WL 3436789 (M.D. Fla. July 17,
2018) (holding that defendant’s telephone calls to plaintiff in Florida as part of a debt collection
effort were sufficient to establish personal jurisdiction under the tortious act provision of the long-
arm statute); Thomas v. ARM WNY, LLC, No. 3:14-cv-360-J39MCR, 2014 WL 6871654, at *3-5 (M.D.
Fla. Dec. 3, 2014) (“In this case, Plaintiff's cause of action arises from Defendant's phone calls
seeking collection of an alleged debt.)

                                                  4
Case 3:23-cv-00503-BJD-PDB Document 13 Filed 11/01/23 Page 5 of 6 PageID 45




harass Plaintiff. (Compl. ¶¶5, 8-28.) Plaintiff further alleges that Defendant’s phone calls

violate the FDCPA and FCCPA and caused her injury. Id.

       In addition to the first prong, Plaintiff clearly asserts that personal jurisdiction here

would comport with due process. By sending electronic communications to Florida,

Defendant purposely availed itself of the privilege of conducting business activities in

this state and could reasonably expect to be haled into court here. The assertion of

jurisdiction under these circumstances would not contravene “basic notions of fair play

and substantial justice.” Consequently, the complaint demonstrates a prima facie case for

personal jurisdiction.

                                           CONCLUSION

       As demonstrated by the face of Plaintiff’s complaint, Plaintiff has made a prima

facie case for personal jurisdiction. Specifically, Plaintiff meets the two-prong test for

personal jurisdiction by alleging that Defendant targeted consumers in Florida by placing

collection calls to Plaintiff while she resided and was present in Florida. Accordingly,

Plaintiff has demonstrated that Defendant purposefully directed its activities to Florida,

thus subjecting itself to this Court’s jurisdiction.

Dated: November 1, 2023                                   Respectfully submitted,

                                                          /s/ Alexander James Taylor
                                                          Alexander James Taylor, Esq.
                                                          Florida Bar No. 1013947
                                                          Counsel for Plaintiff
                                                          Sulaiman Law Group, Ltd.
                                                          2500 S. Highland Ave., Ste. 200
                                                          Lombard, IL 60148
                                                          Telephone: (630) 575-8181
                                                          ataylor@sulaimanlaw.com

                                               5
Case 3:23-cv-00503-BJD-PDB Document 13 Filed 11/01/23 Page 6 of 6 PageID 46




                           CERTIFICATE OF SERVICE

      I hereby certify that on November 1, 2023, I caused a copy of the foregoing
document to be electronically filed with the Clerk of Court using the CM/ECF system
which will be sent to all attorneys of record.


                                            /s/ Alexander James Taylor




                                        6
